

People v Naquan H. (2023 NY Slip Op 00504)





People v Naquan H.


2023 NY Slip Op 00504


Decided on February 02, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 02, 2023

Before: Manzanet-Daniels, J.P., González, Scarpulla, Shulman, Pitt-Burke, JJ. 


Ind. No. 3769/16 Appeal No. 17240 Case No. 2019-1634 

[*1]The People of the State of New York, Respondent,
vNaquan H., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Dalourny Nemorin of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Rafael A. Curbelo of counsel), for respondent.



Judgment of the Supreme Court, Bronx County (William I. Mogulescu, J.), rendered February 22, 2018, convicting defendant, upon his plea of guilty, of assault in the first degree, adjudicating him a youthful offender, and sentencing him to three years' probation, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 6 NY3d 545, 559 [2019], cert denied 589 US , 140 S Ct 2634 [2020]; People v Lopez, 67 NY3d 248, 256 [2006]), which forecloses review of his argument that the mandatory surcharge and fee imposed at sentencing should be vacated pursuant to CPL 420.35(2-a). In any event, we find no basis to vacate the surcharge and fee.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 2, 2023








